          FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
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                        No. 1D2023-0916
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BRADSMAN LAMAR EVANS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Dixie County.
Jennifer Johnson, Judge.

                         August 21, 2024




WINOKUR, J.

     Bradsman Lamar Evans entered a plea to fleeing a police
officer and possession of methamphetamine. The court adjudged
him guilty and sentenced him accordingly. On appeal, Evans
claims that the plea colloquy failed to comply with Florida Rule of
Criminal Procedure 3.172, and that its failure to do so constituted
fundamental error that could be raised for the first time on appeal.
We affirm.

    Florida Rule of Appellate Procedure 9.140(b)(2)(A) states a
defendant “may not appeal from a guilty or nolo contendere plea”
except to raise specified issues. By itself, failure of a plea colloquy
to comport with Florida Rule of Criminal Procedure 3.172 is not an
authorized ground for appeal.

     In any event, “[f]ailure to follow any of the procedures in [Rule
3.172] shall not render a plea void absent a showing of prejudice.”
Fla. R. Crim. P. 3.172(j). “Prejudice” in this context means that the
failure to comply with every element of Rule 3.172 rendered the
plea involuntary. See Wuornos v. State, 676 So. 2d 966, 970 (1995)
(holding that failure to follow the colloquy set forth in Rule 3.172
does not invalidate a plea if the defendant knowingly and
voluntarily entered a guilty plea).

     In other words, a defendant cannot complain about an
insufficient plea colloquy unless it rendered the plea involuntary.
If Evans wished to claim that his plea was involuntary, he could
have filed a motion to withdraw his plea pursuant to Florida Rule
of Criminal Procedure 3.170(l). Having failed to do so, he may not
challenge an involuntary plea on appeal. Fla. R. App. P.
9.140(b)(2)(A)(ii)c. (permitting a defendant who pleads guilty to
appeal “an involuntary plea, if preserved by a motion to withdraw
plea”).

     Evans argues that he is nonetheless permitted to raise this
issue on appeal because it constitutes fundamental error. This
argument was directly rejected by the supreme court: “there is no
fundamental-error exception to the preservation requirement of
rule 9.140(b)(2)(A)(ii)(c).” State v. Dortch, 317 So. 3d 1074, 1084
(Fla. 2021). Evans attempts to distinguish Dortch by noting that
the defendant in Dortch claimed that the determination of
competency before he entered his plea was improper, whereas he
claims that the plea colloquy was insufficient. Evans offers no
reason why this difference might distinguish Dortch, and we find
none. Either way, a defendant cannot argue on appeal that a guilty
plea was involuntary unless the defendant has presented the
matter to the trial court by motion to withdraw the plea, even if
the defendant claims that the error was “fundamental.”

    Finally, we address a contention Evans makes regarding his
reason for this appeal. Evans notes that “if he fails to raise
substantive claims that could or should have been raised on direct


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appeal, then he will be procedurally barred from raising them in
postconviction.” This is a curious argument: Evans maintains that
he must make a claim that is prohibited from being raised on direct
appeal by the rules of procedure, or he will be barred from making
the same claim in a procedurally correct manner by postconviction
motion. Thankfully, no such rule of law exists. Florida Rule of
Criminal Procedure 3.850 expressly permits a postconviction
motion on the ground that “the plea was involuntary.” Fla. R.
Crim. P. 3.850(a)(5). A motion raising this claim does not require
as a precondition an unauthorized direct appeal raising the same
issue. This appeal not only raises an unauthorized issue, but also
does not accomplish what Evans claims it would.

    AFFIRMED.

ROBERTS and LONG, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Megan L. Long, Assistant
Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, and Kristie Regan, Assistant
Attorney General, Tallahassee, for Appellee.




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